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                  IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

MARK ORTEGA,

             Plaintiff                              NOTICE OF MEET AND
                                                    CONFER WITH PLAINTIFF FOR
                                                    THE MOTION TO SET ASIDE
                                                    DEFAULT UNDER FEDERAL
                                                    RULE OF CIVIL PROCEDURE
                                                    55(C) ONLY

                                                    Case No. 24-CV-369-JKP-ESC
                                                    Hon. JASON K. PULLIAM
                                                    Magistrate: Elizabeth S. Chestney
v.

DITOMMASO INC et al.

              Defendants.

 MERIDIAN SERVICES, LLC’S NOTICE OF MEET AND CONFER IN THE MOTION
  AND BRIEF FOR SET ASIDE OF DEFAULT BASED UPON FED. R. CIV. P. 55(C)

       NOW COMES Brian P. Parker pro hac vice to represent Defendant, Meridian Services

LLC and states that Defendant sought out a meet and confer with Plaintiff and in response, Mr.

Ortega emailed Defendant Counsel on March 11, 2025 that:

Hi Brian,

Reading through your Motion to Set Aside, I oppose it given that your client knew of the lawsuit,
was properly served, and maintains an inaccessible address for their registered agent.


Regards,
Mark Anthony Ortega

       WHEREFORE, Defendant respectfully requests that this Honorable Court Set Aside the
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Defendant’s Default and provide other such relief as the Court deems just and proper.

                                            /s/Brian P. Parker
                                            BRIAN P. PARKER (Florida License #980668) and
                                            (Michigan License #P48617)
                                            The Law Offices of Brian P. Parker, P.C. (FL)
                                            10401 Big Tree Circle East
                                            Jacksonville FL 32257
                                            Ph: (904) 466-8872
                                            Attorney for Meridian in Florida and Ordered,
                                            Pro Hac Vice Admission to Western District of
                                            Texas, San Antonio Division
       Dated March 14, 2025


                               CERTIFICATE OF SERVICE

       I certify that on March 14, 2025, a Notice of Meeting and Conferring was efiled with the
Court from an attorney contact email address of brianparker@collectionstopper.com upon the
Court and Plaintiff.

                                            /s/Brian P. Parker
                                            BRIAN P. PARKER (Florida License #980668) and
                                            (Michigan License #P48617)
                                            Attorney for Meridian in Florida and Ordered,
                                            Pro Hac Vice Admission to Western District of
                                            Texas, San Antonio Division
